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                    19
                                                     UNITED STATES DISTRICT COURT
                    20                             NORTHERN DISTRICT OF CALIFORNIA
                    21                                                    Case No. 3:23-cv-03007-VC
                         MARK SCHOBINGER, on behalf of
                    22   himself and all others similarly situated,
                                                                          DEFENDANT’S ADMINISTRATIVE
                                                Plaintiffs,               MOTION FOR LEAVE TO FILE
                    23                                                    INSTANTER SUR-REPLY TO
                                                                          PLAINTIFF’S REPLY IN SUPPORT
                    24                  v.                                OF HIS MOTION FOR CLASS
                                                                          CERTIFICATION
                    25   TWITTER, INC. and X CORP.,
                                                                          Date:     October 3, 2024
                    26                  Defendants.                       Time:     10:00 a.m.
                                                                          Judge:    Hon. Vince Chhabria
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                                    PLAINTIFF’S REPLY IN SUPPORT OF HIS MOTION FOR CLASS CERTIFICATION
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                     1           Pursuant to Civil Local Rules 7-3(d) and 7-11, Defendant X Corp. (“X” or the “Company,”

                     2   also formerly known as “Twitter”) respectfully submits this Administrative Motion for Leave to

                     3   File Instanter a Sur-Reply, attached hereto as Exhibit A, to Plaintiff’s Reply Memorandum

                     4   (“Reply,” ECF 87) in Support of his Motion for Class Certification (“Motion,” ECF 75). In support

                     5   thereof, the Company respectfully states:

                     6           On August 23, 2024, Plaintiff filed his Motion for Class Certification. On September 16,

                     7   2024, Defendant filed its Opposition to the Motion. (ECF 84). On September 23, 2024, Plaintiff

                     8   filed his Reply in support of the Motion. (ECF 87). The hearing on the Motion is set for October

                     9   3, 2024. (ECF 74).
                    10           A Sur-Reply is warranted here because Plaintiff’s Reply:

                    11   (1) improperly attempts to amend the class definition without giving X a fair opportunity to respond

                    12        or showing how his revised putative class meets Rule 23’s requirements, which it does not

                    13        (Reply at 13 n.8);

                    14   (2) falsely states that “Twitter does not state specifically how many employees who may be class

                    15        members in this case signed and did not sign arbitration agreements … [and] has not provided

                    16        sufficient evidence to defeat certification based on this ground in any event” (id. at 8 n.5) –

                    17        when in fact the Company provided precisely that information in its Opposition and the

                    18        supporting Declaration of Aoife Fenelon filed therewith (ECF 86); and

                    19   (3) makes a new legal argument that the class waiver in the Dispute Resolution Agreements
                    20        (“DRAs”) signed by over 95% of the putative class purportedly only bars bringing a class claim

                    21        but not “passively” participating as a class member (Reply at 11-12) – a claim that is legally

                    22        wrong and that he lacks standing to make as a DRA opt-out.

                    23           Courts recognize all three of these newly raised issues and assertions as proper grounds for

                    24   a sur-reply – or for barring the plaintiff’s new evidence and arguments entirely – given the prejudice

                    25   to the defendant from having such matters sprung upon it on reply, without a prescribed opportunity

                    26   to respond:

                    27       Class Definition Revised on Reply: See, e.g., Kumandan v. Google LLC, 2023 WL 3468312 at

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                     1        *1 (N.D. Cal. Jan. 6, 2023) (noting prior ruling “declin[ing] to amend the definition of

                     2        Plaintiffs’ Privacy Class because Plaintiffs first raised this proposal in their reply brief, thereby

                     3        denying [defendant] the opportunity to address the proposed amendment, and Plaintiffs had not

                     4        presented the Court with sufficient information to assess whether the amendment would result

                     5        in classes that comply with the requirements of Federal Rule of Civil Procedure 23”); Phan v.

                     6        Transam. Premier Life Ins. Co., 2023 WL 3468313 at *2 (N.D. Cal. Apr. 17, 2023) (change to

                     7        class definition depriving defendant of “opportunity to respond to Plaintiff’s changed position”

                     8        was a “fundamental flaw”: “It is improper for the moving party to ‘shift gears’ and introduce

                     9        new facts or different legal arguments in the reply brief than presented in the moving papers.”
                    10        (citation omitted)).

                    11       Material Misstatements in the Reply: See, e.g., Banga v. Experian Info. Sols., Inc., 2013 WL

                    12        5539690, at *3 (N.D. Cal. Sept. 30, 2013) (finding sur-reply warranted to address, in part,

                    13        “misstatements and distortions of the factual record” (citation omitted)).

                    14       New Arguments Raised on Reply: See, e.g., McGechie v. Atomos Ltd., 2023 WL 2918681, at

                    15        *1 (E.D. Cal. Apr. 12, 2023) (finding good cause for leave to file sur-reply because “the movant

                    16        raise[d] new arguments in its reply brief” (quoting Hill v. England, 2005 WL 3031136, at *1

                    17        (E.D. Cal. Nov. 8, 2005))); United States v. Venture One Mortg. Corp., 2015 WL 12532139, at

                    18        *2 (S.D. Cal. Feb. 26, 2015) (explaining a court “must give [a non-movant] an opportunity to

                    19        respond” if the court “is to consider . . . new evidence and arguments” introduced “for the first
                    20        time” on reply); see also Kumandan, 2023 WL 3468312 at *1; Phan, 2023 WL 3468313 at *2.

                    21            Defendant should be afforded an opportunity to address each of the foregoing issues, and

                    22   its Sur-Reply would be helpful to this Court in ruling on the instant Motion. Filing the attached

                    23   Sur-Reply instanter also is important given the approaching October 3, 2024 hearing on Plaintiff’s

                    24   Motion. Accordingly, Defendant respectfully requests that the Court grant Defendant leave to file

                    25   the attached Sur-Reply to Plaintiff’s Reply instanter.

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                     1   Dated: September 30, 2024                 MORGAN, LEWIS & BOCKIUS LLP

                     2                                             By: /s/ Brian D. Berry
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                                                                        Ashlee Cherry
                     4                                                  Jonathan D. Lotsoff
                                                                        Kassia Stephenson
                     5                                                  Attorneys for Defendant
                                                                        X CORP. f/k/a TWITTER, INC.
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